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                            IN THE UNITED STATES DISTRICT COURT
                            FOR THE SOUTHERN DISTRICT OF TEXAS
                                     MCALLEN DIVISION

    UNITED STATES OF AMERICA,                          §
                                                       §
                               Plaintiff,              §
                                                       §
    v.                                                 §          CASE NO. 7:20-CV-156
                                                       §
    7.089 ACRES OF LAND, MORE OR LESS,                 §
    SITUATE IN HIDALGO COUNTY,                         §
    STATE OF TEXAS; AND PAULA                          §
    OCHOA, et al.,                                     §
                                                       §
    Defendants.                                        §


         ADVISORY TO THE COURT REGARDING DECEASED INTERESTED PARTY

         COMES NOW THE UNITED STATES OF AMERICA (hereinafter “United States”) and

submits the following Advisory to the Court Regarding Deceased Interested Party to advise the

Court that Defendant Medardo Cantu died on February 1, 2021.

         1. WHEREAS the United States initiated this action on June 12, 2020 by filing a Declaration

            of Taking 1 and Complaint in Condemnation2 to acquire a fee simple interest in 7.089 acres

            of land, more or less, located in Hidalgo County, Texas, identified as Tract RGV-MCS-

            2026-1 (hereinafter “Subject Property”).

         2. Medardo Cantu was identified as an interested party in this action. 3 On February 9, 2021,

            Medardo Cantu’s sister, San Juanita Farias, informed the United States that Medardo Cantu

            died on February 1, 2021. Ms. Farias further informed the United States that Medardo

            Cantu is survived by his wife and five (5) children, and that he did not have a will.



1
  Dkt. No. 2.
2
  Dkt. No. 1.
3
  See Dkt. No. 2, Sch. G.

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   3. At this time, the United States is continuing discussions with Ms. Farias to identify the

       individuals who should be substituted into this action in place of Medardo Cantu. Once

       determined, the United States will file a motion to substitute with the Court in order that

       the interest of Medardo Cantu may be accounted for.

   4. Accordingly, the United States advises the Court that Medardo Cantu is now deceased, and

       therefore any interest he is determined to hold in the Subject Property will need to be

       properly accounted for by substituting the proper parties in his place.

                                                       Respectfully submitted,

                                                       RYAN K. PATRICK
                                                       United States Attorney
                                                       Southern District of Texas

                                             By:       s/ Roland D. Ramos____________
                                                       ROLAND D. RAMOS
                                                       Assistant United States Attorney
                                                       Southern District of Texas No. 3458120
                                                       Texas Bar No. 24096362
                                                       1701 W. Bus. Highway 83, Suite 600
                                                       McAllen, TX 78501
                                                       Telephone: (956) 618-8010
                                                       Facsimile: (956) 618-8016
                                                       E-mail: Roland.Ramos@usdoj.gov
                                                       Attorney in Charge for the United States of
                                                       America

                                CERTIFICATE OF SERVICE

       I, Roland D. Ramos, Assistant United States Attorney for the Southern District of Texas,

hereby certify that on February 11, 2021, a copy of the foregoing was served on all parties in

accordance with the Federal Rules of Civil Procedure.

                                             By:       s/ Roland D. Ramos____________
                                                       ROLAND D. RAMOS
                                                       Assistant United States Attorney




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